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_________
michael@faillacelaw.com
                                                                               October 29, 2021
Via ECF
Honorable Brian M. Cogan
United States District Court
Eastern District of New York
300 Cadman Plaza E.
Brooklyn, NY

       Re:      Zepeda Ochoa v. Elmhurst Famous Pizza of Jackson Heights Corp. et al
                 21-cv-1604

Your Honor:

       This office represents Plaintiff in the above-referenced matter. We write to request
permission to withdraw as attorneys for Plaintiff Abel Noel Zepeda Ochoa pursuant to Local
Civil Rule 1.4.

        This request is necessary because Plaintiff has failed to cooperate with the prosecution of
this matter. The Plaintiff informed this office that he would be returning to his native Honduras
earlier this month. He did not specify when or if he would return, nor did he provide a
forwarding address or telephone number where he could be reached abroad, despite being asked.
This office has made numerous attempts to contact him via the messaging app WhatsApp as well
as via his emergency contact, who confirmed that he had left the state but did not know where he
is.

        To date, despite our efforts, Mr. Zepeda has not responded. Accordingly, we see no
choice but to seek to withdraw as counsel for him. We will not be asserting a charging or
retaining lien. We are serving this application, both in English and Spanish, upon Plaintiff’s last
known home address as well as via Whatsapp.

      If the Court requires any additional information for this application, we will provide it.
We thank the court for its attention to this matter.

                                                    Respectfully Submitted,

                                                    /s/ Michael Faillace
                                                    Michael Faillace
                                                    MICHAEL FAILLACE & ASSOCIATES, P.C.
                                                    Attorneys for Plaintiffs




                          Certified as a minority-owned business in the State of New York
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Cc: (Via First Class Mail)

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